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                                                                           CHARLES H. CHEVALIER
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                                                        October 21, 2024

  VIA ECF
  Honorable Cathy L. Waldor, U.S.M.J.
  United States District Court District of New Jersey
  Martin Luther King Building & U.S. Courthouse
  50 Walnut Street
  Newark, NJ 07102

  Re:   American Regent, Inc. v. Accord Healthcare, Inc., No. 2:24-cv-07791 (BRM) (CLW)
        American Regent, Inc. v. Aspiro Pharma Ltd., No. 2:24-cv-07794 (BRM) (CLW)
        American Regent, Inc. v. Cipla USA, Inc. et al, No. 2:24-cv-07796 (BRM) (CLW)
        American Regent, Inc. v. Dr. Reddy’s Lab’ys, Inc., et al., No. 2:24-cv-07799 (BRM) (CLW)
        American Regent, Inc. v. Eugia Pharma Specialities Ltd., et al., No. 2:24-8956 (BRM)(CLW)
        American Regent, Inc. v. Gland Pharma Ltd., No. 2:24-cv-7802 (BRM) (CLW)
        American Regent, Inc. v. Hikma Pharms. USA, Inc., No. 2:24-cv-7803 (BRM) (CLW)
        American Regent, Inc. v. Long Grove Pharms., LLC, No. 2:24-cv-7804 (BRM) (CLW)
        American Regent, Inc. v. RK Pharma Inc., No. 2:24-cv-7805 (BRM) (CLW)
        American Regent, Inc. v. Somerset Therapeutics, LLC, et al., No. 2:24-cv-7807 (BRM) (CLW)
        American Regent, Inc. v. Sun Pharm. Indus. Ltd., et al., No. 2:24-cv-7810 (BRM) (CLW)
        American Regent, Inc. v. Xiromed, LLC, et al., No. 2:24-cv-7811 (BRM) (CLW)
        American Regent, Inc. v. Zydus Pharms. (USA) Inc., No. 2:24-cv-7812 (BRM) (CLW)

  Dear Judge Waldor:

           This firm, together with Sterne, Kessler, Goldstein & Fox P.L.L.C., represents Plaintiff
  American Regent, Inc. (“ARI”) in the above-referenced matters. With counsel for Defendants in
  all of the above-referenced matters, we write to submit the attached Stipulation and Proposed
  Order of Consolidation for the Court’s consideration. If Your Honor finds the Stipulation
  acceptable, the parties respectfully request that Your Honor “So-Order” the document and direct
  its entry on the docket.

         Should the Court require anything further, the parties will make themselves available at the
  Court’s convenience. The parties thank the Court for its time and assistance in this matter.


                                                        Respectfully submitted,

                                                        s/ Charles H. Chevalier
                                                        Charles H. Chevalier

  cc: All counsel of record in all of the above-referenced matters via ECF and e-mail
